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                                        February 11, 2022




Via ECF

Hon. Cathy Seibel
U.S. District Judge
Southern District of New York
300 Quarropas Street
White Plains, NY 10601

                                         Re:     Magalios v. Peralta, et al.
                                                 Case No. 19-cv-6188 (CS)

Your Honor:

The undersigned represents plaintiff in the above matter. I write to 1) notify the Court and
defense counsel that plaintiff accepts the Court’s reduced punitive damages award in the total
amount of $500,000, as set forth in the Court’s February 10, 2022 Opinion and Order; and 2)
request that plaintiff’s time to file his application for attorney’s fees pursuant to 42 U.S.C. § 1988
be extended to 30 days after the earliest of the three following dates: (i) written
notification from defendants that they are not going to appeal the Opinion and Order;
(ii) the expiration of defendants’ time to file a notice of appeal, without their having done
so; or (iii) the resolution of any appeal taken by defendants from the Opinion and Order.
I have consulted with defense counsel, and they join in this application.

Granting the requested extension would serve the interest of judicial economy, by
avoiding the prospect of multiple fee applications.

Thank you for your consideration.

                                          Very truly yours,


                                          Edward Sivin

Cc: All counsel (via ECF)
